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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


UNITED STATES OF AMERICA                         :
                                                 :
                 v.                              :    CASE NO.: 2-14-cr-12
                                                 :
ADALBERTO SALAZAR                                :

                                          ORDER

       On December 18, 2015, Defendant Salazar was scheduled for an Arraignment on the

Second Superseding Indictment. At that hearing, the defendant requested that the Court appoint

new counsel to represent him. Before proceeding with Arraignment, the Court conducted a

hearing on this matter.

       Although the Sixth Amendment to the United States Constitution guarantees Defendant

Salazar the right to counsel, it does not guarantee him the unqualified right to the appointed

counsel of his choice.     United States v. Garey, 540 F.3d 1253, 1263 (11th Cir.2008).

Accordingly, Defendant Salazar does not have the right “to demand a different appointed lawyer

except for good cause.”     Id. (quoting, Thomas v. Wainwright, 767 F.2d 738, 742 (11th

Cir.1985)). Good cause for substitution of counsel exists where there is “a fundamental problem,

‘such as a conflict of interest, a complete breakdown in communication or an irreconcilable

conflict which leads to an apparently unjust verdict.’” Id. (quoting, United States v. Young, 482

F.2d 993, 995 (5th Cir.1973)). Furthermore, because good cause for substitution of counsel

cannot be based solely on a defendant’s perception, Defendant Salazar’s general loss of

confidence or trust in Mr. Perry, standing alone, is not sufficient to warrant substitution.

Thomas, 767 F.2d at 742.
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       After hearing from Mr. Perry and Defendant Salazar, it appears that there is such a

breakdown in communication that substitution of counsel is in in the best interest of justice. The

Court notes that it appears that Mr. Perry has provided effective representation to Defendant

Salazar, and the Court is not substituting counsel because of any deficiency in counsel’s

performance. However, due to the breakdown in communication, Defendant Salazar’s Request

to appoint new counsel is GRANTED.            Attorney Jimmy Smith is appointed to represent

Adalberto Salazar in this case.

       SO ORDERED this 18th day of December, 2015.



                                                  _____________________________________
                                                  R. STAN BAKER
                                                  UNITED STATES MAGISTRATE JUDGE
                                                  SOUTHERN DISTRICT OF GEORGIA
